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        July 9, 2024

        VIA ECF
        Nwamaka C. Anowi, Clerk
        U.S. Court of Appeals for the Fourth Circuit
        Lewis F. Powell, Jr. United States Courthouse Annex
        1100 East Main Street, Suite 501
        Richmond, VA 23219

               Re:   Peninsula Pathology Associates v. American International
               Industries, No. 23-1972 –     Response to 28(j) Letter addressing LTL
               Management LLC v. Moline, No. 23-02990 (D.N.J. June 28, 2024)

        Dear Ms. Anowi,
              On behalf of Appellant, American International Industries (“A-I-I”), we write
        in response to the Rule 28(j) letter from Appellee Peninsula Pathology Associates
        (“PPA”).
               PPA overstates the applicability of the District of New Jersey opinion from a
        dispute between different parties over a different article (the “Opinion”). It has no
        bearing on the issue presented by this case—whether the district court erred by
        denying a subpoena for a single list of the 75 study participants in Dr. Emory’s
        Article, relied on heavily by plaintiff to prove his claims. A-I-I Opening Br. 22-24.
        The Opinion addressed whether Dr. Moline could be held liable for trade libel, fraud,
        and Lanham Act claims for falsely stating all the participants in her 2020 Article had
        only been exposed to asbestos through cosmetic talc products. Ex. A, at 5-7. The
        Opinion was not a discovery dispute and did not even occur in the context of a
        products liability case. The court never addressed whether the plaintiff in that case
        could seek discovery about the participants in the 2020 Moline article, much less in
        the Emory Article.
              If anything, the Opinion supports A-I-I’s argument here that it is entitled to
        discovery to fully test Dr. Emory’s opinions. The Opinion repeatedly emphasized how



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        the dispute concerned the “weight” of Dr. Moline’s statements. Ex. A, at 20 (“LTL’s
        allegations challenge the weight of Dr. Moline’s statements”); id. (explaining that the
        district court in Bell v. Am. Int’l Indus., 627 F. Supp. 3d 520 (M.D.N.C. 2022), “focused
        on the weight to be given to Dr. Moline’s findings”); id. at 21 (“the weight of Dr.
        Moline’s findings may certainly be subject to critique or criticism”). Indeed, the court
        specifically noted the Bell court’s finding that “defendants in cosmetic talc cases
        deserve a fair opportunity to explore the weight to be assigned to Dr. Moline’s facts
        and conclusions.” Id. at 20 (citation omitted). The same is true here with respect to
        Dr. Emory’s article.
               Finally, LTL Management, LLC has publicly stated that it intends to take an
        appeal of the Opinion.


                                                       Respectfully submitted,

                                                       /s/Benjamin L. Hatch
                                                       Benjamin L. Hatch

                                                       Counsel for Appellant American
                                                       International Industries



        Cc: All counsel of record (via CM/ECF)
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                                    CERTIFICATE OF SERVICE

              This is to certify that I have this July 9, 2024, electronically filed the foregoing

        with the Clerk of Court using the CM/ECF system, which will notify all registered

        counsel.



                                                       /s/ Benjamin L. Hatch
                                                       Benjamin L. Hatch

                                                       Counsel for Appellant American
                                                       International Industries
